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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,
                                            Plaintiff,

                                                                   Case #15-CR-6079-FPG
v.
                                                                   DECISION AND ORDER

RICO MCGEE,

                                    Defendant.
________________________________________________


       By Text Order dated May 25, 2015, this case was referred to United States Magistrate

Judge Jonathan W. Feldman, pursuant to 28 U.S.C. §§ 636(b)(1)(A) and (B). ECF No. 2.

Defendant Rico McGee is charged in Counts 1-4 of the Indictment with Hobbs Act conspiracy in

violation of 18 U.S.C. § 1951(a), two counts of attempted Hobbs Act robbery in violation of 18

U.S.C. § 1951(a) and 2, and using a firearm in relation to a crime of violence in violation of 18

U.S.C. § 924(c)(1)(A)(ii) and 2. ECF No. 87.

       Defendant has moved to suppress statements, to dismiss the Indictment, to sever his trial

from his co-defendant, and for disclosure of grand jury information. ECF Nos. 36, 59. After

receiving briefing from the parties and holding an evidentiary hearing, Magistrate Judge

Feldman issued his Report and Recommendation (ECF No. 81), which recommends the denial of

Defendant’s motions. No objections have been filed to the Report and Recommendation, and the

time to do so has now expired.

       In reviewing a Report and Recommendation, this Court “may accept, reject, or modify, in

whole or in part, the findings or recommendations made by the magistrate judge.” 28 U.S.C. §

636(b)(1)(C). Since no objections were filed, this Court is not required to conduct a de novo

review of Magistrate Judge Feldman’s Report and Recommendation. Thomas v. Arn, 474 U.S.
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140, 150 (1985) (“It does not ap
                               ppear that Co
                                           ongress intennded to requuire district ccourt review
                                                                                              w of a

magistratte’s factual or legal con
                                 nclusions, un
                                             nder a de noovo or any oother standaard, when neeither

party objjects to thosse findings”)); see also United
                                               U      Statess v. Male Juuvenile, 121 F.3d 34, 38 (2d

Cir. 1997
        7) (“We hav
                  ve adopted th
                              he rule that failure
                                           f       to objject timely tto a magistraate judge’s rreport

may operate as a waaiver of any
                              y further jud
                                          dicial review
                                                      w of the deccision, as long as the parties

receive clear
        c     notice of
                     o the conseequences of their
                                            t     failure to object.”)). Magistratte Judge Felddman

also reminded the paarties of Fed
                                d. R. Crim. P. 59(b)(2), stating thatt “Failure tto file objecctions

        he specified time or to request
within th                       r       and
                                          d extension oof such timee waives thee right to ap
                                                                                           ppeal

the Distrrict Court’s Order.” ECF
                              E No. 87. (Emphasis inn original).

        Since no objjections hav
                               ve been fileed, this Couurt accepts and adopts the Reportt and

Recomm
     mendation fileed by United
                              d States Mag
                                         gistrate Judgge Jonathan W
                                                                  W. Feldmann (ECF No. 887) in

its entireety, and Deefendant’s motions
                                m       to suppress,
                                           s         to dismiss, too sever, andd for grandd jury

disclosurre (ECF Nos. 36, 59) aree denied in alll respects.

        IT
         T IS SO ORD
                   DERED.

DATED::         July 6,
                     6 2017
                Rocheester, New York
                                Y

                                                __________________________________________
                                                HON. FRANANK P. GER    RACI, JR.
                                                Chief Judgee
                                                United Statees District C
                                                                        Court




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